         Case 1:22-cv-00339-SPB Document 353 Filed 12/01/23 Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE                 )
 OF THE NAACP, et al.,                         )
                                               ) Civil Action No.: 1:22-cv-00339
                Plaintiffs,                    )
                                               )
        v.                                     ) Judge Susan P. Baxter
                                               )
 AL SCHMIDT, et al.,                           )
                                               )
                Defendants.                    )

                 INTERVENOR-DEFENDANTS’ EXPEDITED MOTION
                        FOR A STAY PENDING APPEAL

       Intervenor-Defendants the Republican National Committee, National Republican

Congressional Committee, and Republican Party of Pennsylvania and prospective intervenor

Richard Marino support and seek to uphold free and fair elections on behalf of all Pennsylvanians.

Intervenor-Defendants and Mr. Marino therefore respectfully move the Court to stay pending

appeal its declaration and judgment that failing to count undated or misdated absentee or mail-in

ballots violates 52 U.S.C. § 10101(a)(2)(B), see ECF Nos. 348, 350. Intervenor-Defendants and

Mr. Marino submit the accompanying Memorandum of Law demonstrating that they are entitled

to a stay pending appeal.

       Time is of the essence. The Court’s order and judgment already have altered the apparent

outcome of an election after the fact, threaten to cause irreparable harm on January 1, 2024, the

day after Mr. Marino’s current term on the Towamencin Township Board of Supervisors ends, and

issued on the eve of the imminent 2024 election cycle. Intervenor-Defendants and Mr. Marino

therefore respectfully request that the Court expedite the briefing and decision on this motion. In

particular, Intervenor-Defendants and Mr. Marino request that the Court set a deadline of Tuesday,
           Case 1:22-cv-00339-SPB Document 353 Filed 12/01/23 Page 2 of 3




December 5, 2023, for any responses to this motion and a deadline of Thursday, December 7, 2023

for a reply in support of this motion, and resolve this motion no later than Friday, December 8,

2023. Intervenor-Defendants and Mr. Marino intend to file a notice of appeal of the Court’s

judgment by Monday, December 11, 2023.

       Counsel for Intervenor-Defendants has contacted counsel for the other parties in the case.

The Lancaster County Board of Elections has no objection to this motion.

       Plaintiffs, Secretary Schmidt, the Erie County Board of Elections, the Elk County Board

of Elections, and the Philadelphia County Board of Elections oppose this motion.               The

Montgomery County Board of Elections has no intention of consenting to this motion. The

Allegheny County Elections Division will not consent to this motion.

       The parties noted below (including parties the Court has dismissed from the action) take

no position on this motion. 1 The Chester County Board of Elections is unable to provide a response

within the time requested. The Bucks County Board of Elections is unable to consent at this time.




       1
         Armstrong County Board of Elections; Bedford County Board of Elections; Blair County
Board of Elections; Bradford County Board of Elections; Cameron County Board of Elections;
Carbon County Board of Elections; Centre County Board of Elections; Columbia County Board
of Elections; Crawford County Board of Elections; Dauphin County Board of Elections; Delaware
County Board of Elections; Fayette County Board of Elections; Franklin County Board of
Elections; Fulton County Board of Elections; Greene County Board of Elections; Huntingdon
County Board of Elections; Indiana County Board of Elections; Jefferson County Board of
Elections; Lawrence County Board of Elections; Lebanon County Board of Elections; Lehigh
County Board of Elections; Monroe County Board of Elections; Montour County Board of
Elections; Northampton County Board of Elections; Northumberland County Board of Elections;
Perry County Board of Elections; Potter County Board of Elections; Snyder County Board of
Elections; Somerset County Board of Elections; Sullivan County Board of Elections; Tioga
County Board of Elections; Union County Board of Elections; Venango County Board of
Elections; Washington County Board of Elections; Wayne County Board of Elections; Wyoming
County Board of Elections; York County Board of Elections.


                                                2
        Case 1:22-cv-00339-SPB Document 353 Filed 12/01/23 Page 3 of 3




       WHEREFORE, Intervenor-Defendants respectfully request that the Court GRANT this

motion and STAY its final remedial order pending appeal.



Dated: December 1, 2023                       Respectfully submitted,

                                              /s/ Kathleen A. Gallagher
                                              Kathleen A. Gallagher
                                              PA I.D. #37950
                                              THE GALLAGHER FIRM, LLC
                                              436 Seventh Avenue, 31st Floor
                                              Pittsburgh, PA 15219
                                              Phone: (412) 308-5512
                                              kag@gallagherlawllc.com

                                              John M. Gore *
                                              E. Stewart Crosland
                                              Louis J. Capozzi III*
                                              JONES DAY
                                              51 Louisiana Avenue, N.W.
                                              Washington, D.C. 20001
                                              Phone: (202) 879-3939
                                              jmgore@jonesday.com
                                              scrosland@jonesday.com
                                              lcapozzi@jonesday.com

                                              Thomas W. King, III
                                              Thomas E. Breth
                                              DILLON, McCANDLESS, KING,
                                              COULTER & GRAHAM, LLP
                                              128 W. Cunningham St.
                                              Butler, PA 16001
                                              Phone: (724) 283.2200
                                              tking@dmkcg.com
                                              tbreth@dmkcg.com

                                              Counsel for Intervenor-Defendants and
                                              Prospective Intervenor Richard Marino

                                              * Admitted pro hac vice




                                              3
